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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,
      v.

 RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-0381-ABJ
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                        Defendants.


                             DECLARATION OF FRANCIS DOE

        I, Francis Doe, declare as follows:

        1.     I am a Financial Analyst in the Research, Monitoring, and Regulations division of

the CFPB. The statements made in this declaration are based on my personal knowledge.

        2.     I am submitting this declaration pseudonymously because I fear retaliation. But if

the Court would like to know my name, I am willing to provide it ex parte and under seal.

        3.     On February 10, 2025, Acting Director Russell Vought sent an agency-wide email,

instructing all employees to “stand down from performing any work task.” The email made clear

that even work on “urgent matters” could not be performed without “approval in writing,” which

it directed could only be secured by alerting the Acting Director himself through “Mark Paoletta,

Chief Legal Officer.” There were no exceptions to this stop-work order for statutorily required

work.

        4.     I, my colleagues, and my manager all understood this email as an order to stop all

work, regardless of whether it was required by statute. Accordingly, we have not performed any

work, since it was sent. My office is responsible for statutorily mandated reports, for which I have




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upcoming deadlines. I have not worked on these reports (or anything else) since we received the

February 10 stop-work order.

       5.      On the morning of Friday, February 28, 2025, I became aware that the prior

afternoon (February 27, 2025), CFPB Chief Operating Officer Adam Martinez had sent an email

to the leadership of my division, including the assistant director responsible for overseeing my

team, John McNamara. That email stated that Mr. Martinez and Acting Director Vought “wanted

to ensure that [staff is] aware that statutorily required work and/or work required by law are

authorized.” Although Mr. Martinez cited a February 8, 2025 email from Acting Director Vought,

he did not mention the subsequent February 10 email, which had explicitly directed all employees

to stop all work—without any exception for work required by law.

       6.      I learned of Mr. Martinez’s February 27 email from a colleague. When I learned of

the email, I had not received any authorization from my management to resume work. Seeking

clarification, I sent an email from my CFPB email account to Mr. McNamara, and cc-ed my direct

manager. That email sought clarification about whether I should resume work on the statutorily

mandated reports for which I am responsible. My direct manager responded, stating that Mr.

McNamara “will be reaching out to you shortly.” Immediately thereafter, my direct manager texted

me and two of my colleagues on our personal cell phones, stating: “In response to Adam

Martinez’s email, John [McNamara] has instructed us to stand down until further notice.” In

response to my manager’s text, I asked that Mr. McNamara “provide written guidance to our CFPB

emails.”

       7.      Mr. McNamara then sent an email just to me and my direct manager (to our CFPB

emails), stating that he would “like to get started” on statutorily mandated reports, but that I should




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“[s]tay tuned for guidance.” Separately, he sent an email to my whole team, which said that he had

emailed “Adam Martinez letting him know that [he planned] to recommence work on all areas.”

       8.      Confused, I then emailed Mr. McNamara again, asking “To clarify, should I get

started or wait for guidance?” Mr. McNamara responded that I should “[w]ait for guidance.”

       9.      Having not received any further guidance, I continue to remain unauthorized to

perform any work. Despite Mr. Martinez’s February 27 email, my understanding is that the stop-

work order issued on February 10th remains in effect.



       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Executed on March 2, 2025, in Washington, D.C.

                                                            /s/ Francis Doe
                                                            Francis Doe




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